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    November 12, 2021




    Extended Search




  Porn sites put Crescent City on alert
  By Sarah Cavacini on Tuesday, May 11, 2021



  Authorities link former mayor’s email, password to adult sites on office computer




                                               Former Crescent City Mayor Brett Peterson


  CRESCENT CITY – Security issues sparked concern in local government officials when porn websites
  were found on the previous mayor’s work computer history.
  There were at least 10 adult websites found in the history of former Mayor Brett Peterson’s computer at
  City Hall following an investigation into alleged leaked information, documents show.
  The Putnam County Sheriff’s Office conducted an audit in early April because interim City Manager Phil
  Leary and Mayor Michele Myers, who currently uses the computer Peterson previously used, were worried
  “confidential information was being accessed off the mayor’s work computer and then leaked,” according
  to the agency’s report.
  “Additionally, there was concern that they had discovered links to adult websites and accounts with
  passwords associated with the former Mayor Brett Peterson,” according to a sheriff’s office report.
  “Peterson was the former mayor and had been assigned and used the computer in question before
  (Myers).”                                                                                                 Read Palatka Daily News, Palatka, Florida

  Peterson denied accessing pornographic websites while in the government building.
  “At no point did I ever access anything like that at the office,” he said.
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  The sheriff’s office report did not find any evidence of illegal activities involving Myers’ computer that
  Peterson, whom Myers defeated in the November general election, used during his time in office.
  On March 24, someone in the Crescent City offices created a Microsoft Excel spreadsheet that listed
  websites, usernames and passwords that were associated with Peterson and found on the computer in
  question, city officials said. Leary said he was not sure who created the spreadsheet but confirmed the file
  was made at the city.
  The file can be created by exporting a Google user’s saved passwords to websites stored on a Google
  account.                                                                                                             Brennan B2 Mini marvel
                                                                                                                       Brennan
  “Google users can set their accounts to log in upon launch of their web browser automatically from any
  computer they use or access. It is my professional opinion that Peterson never logged out of his Google
  account upon leaving as mayor,” the report stated. “Anyone subsequently launching Google Chrome on
  this computer would be automatically logged in as Peterson with access to his email and links to his
  frequent web destinations.”
  The Excel file obtained from Crescent City showed the adult website Tube8.com was frequently visited,
  but no date, time or username was linked on the Google homepage. However, one adult site, ismygirl.com,
  showed Peterson’s email was used as the username, according to city documents.
  Peterson questioned why this went “unnoticed” in the time since he left office and whether the sheriff’s
  office could find out if his email was looked at by someone at City Hall.
  “(It) makes me wonder if my emails were being searched when I had emails sent to and from me
  regarding the (Crescent City Police Department) issue or recall efforts,” Peterson wrote in a text message.
  He referenced efforts to recall City Commissioner Judy West and the city’s police department being
  disbanded earlier this year.
  The sheriff’s office reported “no evidence that the open Google account was modified, fabricated or
  created by any other person who subsequently had possession of the computer.”
  Sheriff’s office spokeswoman Allison Waters-Merritt said even if the sites were accessed at home, the
  links still showed up on city computers, which are government property. And the adult websites could
  have put viruses on all Crescent City computers, she said.
  “These are not safe sites,” Waters-Merritt said. “And if your computer is linked to your work computer,              Brennan B2 Mini marvel
  what are you potentially exposing the rest of the city to?”                                                          Brennan

  Leary also worried about the city’s technological safety, expressing concerns that are scheduled to be
  addressed at the commission’s meeting 6 p.m. Thursday. He also said the findings – and not why the
  audit was originally performed – were surprising.
  “Never in my career have I had to deal with a staff person or an official in this circumstance,” Leary said.




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